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_: U.S. BISTRIET COURT
IN THE UNITED STATES DISTRICT COURT SESTRICT OF MESRASHKS .
FOR THE DISTRICT OF NEBRASKA ons a
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UNITED STATES OF AMERICA, ce
Plaintiff, .
4:15CR 30948
vs.
PLEA AGREEMENT /
COREY J. LAVIGNE, “
Defendant.

 

 

IT IS HEREBY AGREED between the plaintiff, United States of America, through its
counsel, Deborah R. Gilg, United States Attorney and William W. Mickle, II, Assistant United
States Attorney, and defendant, Corey J. Lavigne, and Timothy S. Noerrlinger, counsel for
defendant, as follows:

I
THE PLEA
A. CHARGE(S) & FORFEITURE ALLEGATION(S).

Defendant agrees to waive Indictment and plead guilty to an Information. Count I
charges a violation of Title18, United States Code, Section 1028(a)(1) and(f). Defendant further
admits the forfeiture allegation(s) as set forth in the Information.

B. In exchange for the defendant’s plea of guilty as indicated above, the United States
agrees as follows .

1. The United States agrees that the defendant will not be federally prosecuted in the
District of Nebraska for crimes which the defendant reported to law enforcement during
interview(s) on or after May 1, 2015, other than as set forth in paragraph A, above: This
agreement not to prosecute the defendant for specific crimes does not prevent any prosecuting
authority from prosecuting the defendant for any other crime, or for any crime involving physical

injury or death.
 

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NATURE OF THE OFFENSE
A. ELEMENTS EXPLAINED.

 

 

_ Defendant understands that the offense to which defendant is pleading guiltyhasthe =

following elements:

1. Between approximately May 2012 and March 2014;

2 Defendant conspired, combined, confederated and agreed to;

3. Knowingly produce authentication features, or falsified identification documents;

4 When Defendant produced the authentication features or false identification

documents, he did so without lawful authority; and

5. The false identification documents and authentication features were in or affected

interstate commerce. - /
B. ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS.

Defendant has fully discussed the facts of this case with defense counsel. Defendant has
committed each of the elements of the crime, and admits that there is a factual basis for this
guilty plea. The following facts are true and undisputed.

Between May 2012 and March 2014, Corey J. Lavigne and other co-conspirators,
through an internet website, solicited under-age individuals to purchase false identification
documents, i.e. New York state drivers’ licenses, not issued under the authority of the state of
New York, with false dates of births, used to identify the purchasers as 21 years of age or older.

Corey J. Lavigne and other co-conspirators purchased and used computer software,
computers, printers, laminators, lamination paper, card cutters, UV ink, adhesive jelly, titanium
shavings, and other products in the production of false identification documents.

Corey J. Lavigne and other co-conspirators instructed purchasers to obtain prepaid debit
cards such as MoneyPak, NetSpend, Green Dot, etc., for the purchase price, and then to provide
the prepaid cards’ information to the website so the purchase price and card information could be
transferred anonymously to the co-conspirators.

Corey J. Lavigne and other co-conspirators, in additional efforts to conceal their receipt
of the proceeds, encoded the prepaid cards’ information from the website onto reloadable prepaid
debit cards under individuals’ names that had been stolen by several of the co-conspirators from

an Omaha-area automobile dealership and an Omaha-area fence company;
Corey J. Lavigne and his co-conspirators utilized addresses and mailboxes in the Lincoln
and Gretna, Nebraska, areas, and in the Ames, Iowa, area, where the reloadable prepaid cards

were delivered via United States Mail, and received by co-conspirators, with and without

 

‘knowledge of the mailbox owners or addressees; —
One or more of the co-conspirators thereafter took the prepaid cards to automatic teller
machines (ATMs) in Lincoln and Gretna, Nebraska, withdrew cash from the prepaid debit cards,
and provided the proceeds to the co-conspirators.
Corey J. Lavigne and his co-conspirators, through their conspiratorial acts; received

between $256,760.74 and $303,692.56 in proceeds.

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A... COUNT I. Defendant understands that the crime to which defendant is.pleading guilty
carries the following penalties:

1. A maximum 15 years in prison;

2. Amaximum $250,000 fine;

3. A mandatory special assessment of $100 per count; and:

4. A term of supervised release of not more than 3 years. Defendant understands
that failure to comply with any of the conditions of supervised release may result in revocation of
supervised release, requiring defendant to serve in prison all or part of the term of supervised
release. -

5. Possible ineligibility for certain Federal benefits.

IV
AGREEMENT LIMITED TO U.S. ATTORNEY’S OFFICE
DISTRICT OF NEBRASKA
This plea agreement is limited to the United States Attorney’s Office for the District of
Nebraska, and cannot bind any other federal, state or local prosecuting, administrative, or

regulatory authorities.
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PARTIES’ SENTENCING RECOMMENDATIONS"
A. SENTENCING GUIDELINE CALCULATIONS.

 

 

Although the parties understand that the Guidelines are advisory and only one ofthe =

factors the court will consider under 18 U.S.C. § 3553(a) in imposing a sentence, the parties will
jointly recommend the following Base Offense Level, Specific Offense Characteristics,
Adjustments and Departures (if applicable). Unless otherwise stated, all agreements as to
sentencing issues are made pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B).

1. If the defendant is found to be entitled to an offense level reduction under
U.S.S.G. 3E1.1(a) for acceptance of responsibility, the United States hereby moves that the court
reduce the defendant’s offense level by one additional level, pursuant to U.S.S.G. § 3E1.1(b), if
that paragraph otherwise applies.
. 2. - The parties stipulate and agree, pursuant to U.S.S.G. § 2B1.1(a)(2) defendant’s
Base Offense Level is 6, which is increased by four levels, pursuant to § 2B1.1(b)(2)(B) because
the offense involved 50 or more victims.

3. The parties also stipulate and agree defendant’s Offense Level should also be
increased by two levels, pursuant to § 2B1.1(b)(10) because the scheme involved “sophisticated
means,” and increased an additional two levels, pursuant to § 2B1.1(b)(11) because the offense
involved the possession and use of device-making equipment.

B. ACCEPTANCE OF RESPONSIBILITY.

Notwithstanding paragraph A above, the United States will not recommend any

adjustment for Acceptance of Responsibility if defendant:

1. Fails to admit a complete factual basis for the guilty plea at the time it is

entered, or —

2. Denies involvement in the offense, gives conflicting statements about
that involvement, or is untruthful with the court or probation officer, or
Fails to appear in court, or |
Engages in additional criminal conduct, or
Attempts to withdraw the guilty plea, or
Refuses to abide by any lawful court order, or

Contests or assists any third party in contesting the forfeiture of
property(ies)seized or forfeited in connection with this case.

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The parties further agree the defendant will make no “blanket” objections to the criminal

history calculation (specific objections based on stated grounds are permitted). Objections to

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criminal history on the basis that the defendant was not the person who was convicted of the
offense(s) described in the presentence investigation report or on the basis that-the defendant was

not represented by counsel in connection with such conviction(s), if determined to be unfounded,

 

 

~ are evidence the defendant has not accepted responsibility and the parties agree no credit for
acceptance of responsibility should be given. .
C. ADJUSTMENTS, DEPARTURES & REDUCTIONS UNDER 18.U.S.C. § 3553(a).

The parties agree that defendant may request or recommend.additional downward
adjustments, departures, including criminal history departures under U.S.S.G..

§ 4A1.3, and sentence reductions under 18 U.S.C. § 3553(a), and that the United States may
oppose any such downward adjustments, departures, and sentence-reductions not set forth in
Section V, paragraph A above.

D. CRIMINAL HISTORY.

The parties have no agreement concerning the defendant’s Criminal History Category,
except that if defendant is determined to be a Career Offender, the parties agree that the
defendant is automatically a Criminal History Category VI pursuant to U.S.S.G. § 4B1.1(b).

E. “FACTUAL BASIS” AND “RELEVANT CONDUCT” INFORMATION.

The parties agree that the facts in the “factual basis” paragraph of this agreement, if any,
are true, and may be considered as “relevant conduct” under U.S.S.G. § 1B1.3 and as the nature
and circumstances of the offense under 18 U.S.C. § 3553(a)(1).

The parties agree that all information known by the office of United States Pretrial
Service may be used by the Probation Office in submitting its presentence report, and may be —

disclosed to the court for purposes of sentencing.

VI
‘DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK
The defendant hereby knowingly and expressly waives any and all rights to appeal the
defendant's conviction and sentence, including any restitution order in this case, and including a
waiver of all motions, defenses, and objections which the defendant could assert to the charges
or to the Court's entry of Judgment against the defendant, and including review pursuant to 18
US.C.§ 3742 of any sentence imposed, except:

(a) As provided in Section I above, (if this is a conditional guilty plea); and

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(b) A claim of ineffective assistance of counsel.
The defendant further knowingly and expressly waives any and all rights to contest the

defendant's conviction and sentence in any post-conviction proceedings, including any

 

 

proceedings under 28 U.S.C. § 2255, except:

(a) The right to timely challenge the defendant's conviction and the sentence
of the Court should the Eighth Circuit Court of Appeals or the United States Supreme Court later
find that the charge to which the defendant is agreeing to plead guilty fails to state a crime.

(b) The right to seek post-conviction relief based on ineffective assistance of
counsel.

If defendant breaches this plea agreement, at any time, in any way, including, but not
limited to, appealing or collaterally attacking the conviction or‘sentence, the United States may
prosecute defendant for any counts, including those with mandatory minimum sentences,
dismissed or not charged pursuant to this plea agreement. Additionally, the United States may
use any factual admissions made by defendant pursuant to this plea agreement in any such

prosecution.

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BREACH OF AGREEMENT

Should it be concluded by the United States that the defendant has committed a crime
subsequent to signing the plea agreement, or otherwise violated this plea agreement, the
defendant shall then be subject to prosecution for any federal, state, or local crime(s) which this
agreement otherwise anticipated would be dismissed or not prosecuted. Any such prosecution(s)
may be premised upon any information, statement, or testimony provided by the defendant.

In the event the defendant commits a crime or otherwise violates any term or condition of
this plea agreement, the defendant shall not, because of such violation of this agreement, be
allowed to withdraw the defendant's plea of guilty, and the United States will be relieved of any
obligation it otherwise has under this agreement, and may withdraw any motions for dismissal of

charges or for sentence relief it had already filed.
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SCOPE OF AGREEMENT

A. This plea agreement embodies the entire agreement between the parties and

 

. supersedes any other agreement, written or oral.

B. By signing this agreement, the defendant agrees that the time between the date the
defendant signs this agreement and the date of the guilty plea will be excluded under the Speedy
Trial Act. The defendant stipulates that such period of delay is necessary in order for the
defendant to have opportunity to enter the anticipated plea of guilty, and that the ends of justice
served by such period of delay outweigh the best interest of the defendant and the public in a
speedy trial.

C. The United States may use against the defendant any disclosure(s) the.defendant has
made pursuant to this agreement in any civil proceeding.:'Nothing contained in this agreement
shall in any manner limit the defendant's civil liability which may otherwise be found to exist, or
in any manner limit or prevent the United States from pursuing any applicable civil remedy,
including but not limited to remedies regarding asset forfeiture and/or taxation.

D. Pursuant to 18 U.S.C. § 3013, the defendant will pay to the Clerk of the District Court
the mandatory special assessment of $100 for each felony count to which the defendant pleads
guilty. The defendant will make this payment at or before the time of sentencing.

E. By signing this agreement, the defendant waives the right to withdraw the defendant’s
plea of guilty pursuant to Federal Rule of Criminal Procedure 11(d). The defendant may only
withdraw the guilty plea in the event the court rejects the plea agreement pursuant to Federal
Rule of Criminal Procedure 11(c)(5). Furthermore, defendant understands that if the court
rejects the plea agreement, whether or not defendant withdraws the guilty plea, the United States
is relieved of any obligation it had under the agreement and defendant shall be subject to
prosecution for any federal, state, or local crime(s) which this agreement otherwise anticipated
would be dismissed or not prosecuted.

F. This agreement may be withdrawn by the United States at any time prior to its being
signed by all parties. Further, this proposed plea agreement is automatically withdrawn if the
properly executed original agreement is not received on or before July 16, 2015, at the United

States Attorney’s, District of Nebraska.
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MODIFICATION OF AGREEMENT MUST BE IN WRITING |

This agreement ends all plea discussions. No promises, agreements or conditions have

 

been entered into other than those set forth in this agreement, and none will be entered into

unless in writing and signed by all parties.

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DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

By signing this agreement, defendant certifies that defendant read it (or that it has been

read to defendant in defendant’s native language). Defendant has discussed the terms of this

agreement with defense counsel and fully understands its meaning and effect.

Rep Xld, 20257

 

Date /

CL FO

Date

3/9/16

 

Date

UNITED STATES OF AMERICA

DEBORAH R. GILG

United States Attorne
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WILLIAM W. MIC LE, II

ASSISTANT U.S. ATTORNEY

Li J. az
DEFENDANT

 

TIMOTHY § ERRLINGER
COUNSE R DEFENDANT

 
